Case 1:20-cv-23191-WPD Document 7 Entered on FLSD Docket 08/28/2020 Page 1 of 18




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 20-CV-23191-WPD

  LOUIS A. HERRERA,

                  Plaintiff,

  v.

  CITY OF HIALEAH, FLORIDA,

                  Defendant.
                                                /

                DEFENDANT CITY OF HIALEAH’S MOTION TO DISMISS
       COUNT III OF COMPLAINT WITH INCORPORATED MEMORANDUM OF LAW

          Defendant, CITY OF HIALEAH, FLORIDA (“City”), through its counsel, BRYANT

  MILLER OLIVE, P.A., pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), hereby

  files this Motion To Dismiss Count III Of Complaint With Incorporated Memorandum Of Law

  and further states in support thereof as follows:

                        MOTION TO DISMISS COUNT III OF COMPLAINT

          1.      Plaintiff served his three-count Complaint [D.E. 1] on the City on August 7, 2020.

  This Partial Motion To Dismiss is timely. (The City is concurrently filing a Partial Answer

  responding to Counts I and II of the Complaint.)

          2.      Count III of the Complaint purports to be brought pursuant to Florida Statutes

  Section 295.08, which provides for preference to be given to veterans seeking promotion as

  employees of the state or one of its political subdivisions. It also purports to be brought pursuant

  to Florida Statutes Section 295.14(2), titled “Penalties.” Fla. Stat. §§ 295.08, 295.14.




  26623/065/01644903.DOCXv1                           1
Case 1:20-cv-23191-WPD Document 7 Entered on FLSD Docket 08/28/2020 Page 2 of 18




          3.      Section 295.08 is subject to a comprehensive remedial scheme of enforcement that

  vests exclusive jurisdiction over claims made under the section in the Florida Public Employees

  Relations Commission (“PERC”). Fla. Stat. §§ 295.11; 295.11(4).

          4.      Plaintiff has failed to exhaust his administrative remedies and this Court lacks

  subject matter jurisdiction. Therefore, Count III should be dismissed.

          5.      Because there is no set of facts that can be alleged that could cure this Court’s lack

  of subject matter jurisdiction and because Plaintiff’s time for pursuing his administrative remedies

  as to the adverse actions he alleges in the Complaint has long since expired, Count III should be

  dismissed with prejudice.

          6.      Further, any claim under Chapter 295 is barred by sovereign immunity. There is no

  express waiver of sovereign immunity for a private cause of action under Chapter 295, so any such

  claim would have to be implied. A waiver of sovereign immunity cannot be implied. Further, even

  if sovereign immunity were waived, Plaintiff has not complied with the notice requirements of

  Florida’s limited waiver of sovereign immunity statute.

          7.      Additionally, Count III incorporates by reference paragraphs 1 through 42 of the

  Complaint. Paragraphs 40 through 42 of the Complaint constitute Count I of the Complaint, which

  purports to state a claim under the United States Uniformed Services Employment and

  Reemployment Act (“USERRA”).

          8.      By including multiple claims for relief in a single count, Count III constitutes an

  impermissible “shotgun” pleading and is properly dismissed on this ground alone, even if it were

  not dismissible with prejudice for lack of subject matter jurisdiction.

          WHEREFORE, the City requests that Count III be dismissed with prejudice.

               MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS



  26623/065/01644903.DOCXv1                         2
Case 1:20-cv-23191-WPD Document 7 Entered on FLSD Docket 08/28/2020 Page 3 of 18




                                                  POINT I

                  ENFORCEMENT OF RIGHTS UNDER SECTION 295.08 IS
                  VESTED EXCLUSIVELY IN PERC, WITH JUDICIAL REVIEW
                  IN THE STATE APPELLATE COURTS; THIS COURT LACKS
                  SUBJECT MATTER JURISDICTION; FURTHER, PLAINTIFF
                  FAILS TO ALLEGE HE HAS EXHAUSTED HIS
                  ADMINISTRATIVE REMEDIES.

          Plaintiff is bringing his claim for relief in Count III initially in this Court. This is clear from

  the face of the Complaint because Florida law provides that sole judicial involvement in a claim

  under Section 295.08 comes in the state appellate courts after administrative proceedings before

  PERC. Moreover, there is no allegation in the Complaint concerning exhaustion of administrative

  remedies or satisfaction or waiver of conditions precedent.

  A.      PERC Has Exclusive Jurisdiction Over Claims Under Florida Statutes 295.08.

          Florida Statutes Section 295.11 states: “Jurisdiction to effectuate the purposes of

  ss. 295.07-295.09 shall vest with the Public Employees Relations Commission for appropriate

  administrative determination.” Fla. Stat. § 295.11(4). Section 295.11 sets forth a comprehensive

  remedial scheme of enforcement of veterans preference claims that includes the PERC process. In

  summary, an aggrieved party must file a complaint with the Florida Department of Veterans

  Affairs within 60 days of the date the complainant receives notice of the alleged failure to provide

  preference. Fla. Admin. C. § 55A-7.016(4). The Department must investigate, reach a

  determination, and provide its determination to the complainant and employer. Fla. Stat. §

  295.11(1), (2). If the complainant is not satisfied, he may file a petition with PERC within 45 days

  of a triggering event as defined by regulation. Fla. Admin. C. § 55A-7.016(11), (12). PERC then

  may conduct its de novo determination of the sufficiency of the petition and, if appropriate, a de

  novo evidentiary hearing pursuant to the comprehensive enforcement scheme set forth in the

  Public Employees Relations Act. Fla. Admin. C. § 55A-7.016(13); Fla. Stat. §§ 447.201-447.609.

  26623/065/01644903.DOCXv1                           3
Case 1:20-cv-23191-WPD Document 7 Entered on FLSD Docket 08/28/2020 Page 4 of 18




  The evidentiary hearing is held before an administrative law judge, whose recommendation is

  reviewable by the Commission. Fla. Stat. § 447.503. PERC’s order is final agency action under

  the Florida Administrative Procedures Act, reviewable in Florida’s first-level appellate courts. Fla.

  Admin. C. § 55A-7.016(14); Fla. Stat. § 447.504.

          This same enforcement scheme, minus the involvement of the Department of Veterans

  Affairs, applies to unfair labor practices prohibited in the Florida Public Employees Relations Act,

  Florida Statutes Chapter 447, Part II (“PERA”). Fla. Stat. §§ 447.201-447.609. It is settled law that

  PERC has exclusive jurisdiction over the matters under its purview. See generally, Local Union

  No. 2315, International Association of Firefighters v. City of Ocala, 371 So. 2d 583 (Fla. 1st DCA

  1979) (PERC has preemptive jurisdictions over labor disputes); see also Maxwell v. School Board

  of Broward County, 330 So. 2d 177 (Fla. 4th DCA 1976); Public Employees Relations Commission

  v. Fraternal Order of Police, 327 So. 2d 43 (Fla. 2d DCA 1976) (PERC has exclusive jurisdiction

  over unfair labor practice disputes).

          In Maxwell, the court extensively reviewed the comprehensive remedial scheme of PERA

  and found that the Legislature intended PERC to have “preemptive jurisdiction over such matters.”

  Maxwell, 330 So. 2d at 179. The court compared PERC’s preemptive jurisdiction to that of the

  National Labor Relations Board under the National Labor Relations Act, after which PERA is

  patterned. Id. Courts have found claims to be within PERC’s exclusive jurisdiction in a number of

  disparate circumstances. See, e.g., Transport Workers of America v. Cunningham, No. 3D20-216,

  2020 WL 2176476 (Fla. 3d DCA May 6, 2020) (granting writ of prohibition finding claim of

  tortious interference to be within PERC’s preemptive jurisdiction); City of Hollywood v. Perrin,

  292 So. 3d 808 (Fla. 4th DCA 2020) (reversing order compelling arbitration because purported

  contractual grievance fell within PERC’s preemptive jurisdiction); Miami Ass’n of Fire Fighters



  26623/065/01644903.DOCXv1                        4
Case 1:20-cv-23191-WPD Document 7 Entered on FLSD Docket 08/28/2020 Page 5 of 18




  v. City of Miami, 87 So. 3d 93 (Fla. 3d DCA 2012) (affirming dismissal of lawsuit for declaratory

  judgment and injunction because dispute was within PERC’s preemptive jurisdiction); see also

  Communications Workers of America v. City of Gainesville, 697 So. 2d 167 (Fla. 1st DCA 1997)

  (holding that PERC had exclusive jurisdiction over labor dispute even though deciding it would

  require interpreting or applying non-labor law or constitutional principles).

          By analogy, a federal court considering whether suit under 42 U.S.C. Section 1983 on

  similar grounds consider whether congressional intended to preempt “by creating a comprehensive

  enforcement scheme that is incompatible with individual enforcement under § 1983.” Blessing v.

  Firestone, 520 U.S. 329, 341 (1997). This concept was elaborated in Middlesex County Sewerage

  Authority v. National Sea Clammers Ass’n, 453 U.S. 1, 21 (1981) (internal citation omitted). The

  Court in that case stated:

                  When the remedial devices provided in a particular Act are
                  sufficiently comprehensive, they may suffice to demonstrate
                  congressional intent to preclude the remedy of suits under § 1983 ....
                  “[W]hen a state official is alleged to have violated a federal statute
                  which provides its own comprehensive enforcement scheme, the
                  requirements of that enforcement procedure may not be bypassed by
                  bringing suit directly under § 1983.”

  This sort of analysis has been used to find that, for example, the Age Discrimination in

  Employment Act’s remedial scheme (which includes administrative prerequisites) is

  comprehensive enough to imply congressional intent to preempt enforcement under Section 1983.

  See LaFleur v. Texas Dep’t of Health, 126 F.3d 758, 760 (5th Cir. 1997); Migneault v. Peck, 158

  F.3d 1131, 1140 (10th Cir. 1998); Zombro v. Baltimore City Police Department, 868 F.2d 1364

  (4th Cir. 1989).

          In the case before this Court, the Florida court decisions cited above have applied this

  same examination of the comprehensiveness of the remedy under PERA to conclude that it has



  26623/065/01644903.DOCXv1                         5
Case 1:20-cv-23191-WPD Document 7 Entered on FLSD Docket 08/28/2020 Page 6 of 18




  occupied the field of public labor relations enforcement in Florida and that the courts have no

  initial jurisdiction over such disputes. No case has considered whether PERC’s jurisdiction over

  veterans preference cases is likewise exclusive. However, the argument in favor of preemption

  because of the comprehensive remedial scheme is not only just as strong for veterans claims as for

  unfair labor practice claims, there is the added matter of this statutory grant of jurisdiction:

  “Jurisdiction to effectuate the purposes of ss. 295.07-295.09 shall vest with the Public Employees

  Relations Commission for appropriate administrative determination.” Fla. Stat. § 295.11(4).

          Further, in the case of veterans preference cases, the remedial scheme is even more

  comprehensive even than it is for cases brought directly under PERA, since it has the added

  requirements of an initial complaint, investigation, and attempted remediation with the employer

  found in Section 295.11.

          Put another way, Plaintiff has failed to exhaust his administrative remedies. A party

  seeking review of administrative action must first exhaust available administrative remedies before

  seeking court review. Failure to do so deprives the court of subject matter jurisdiction. Dist. Bd.

  of Trustees of Broward Community Coll. v. Caldwell, 959 So. 2d 767, 769-70 (Fla. 4th DCA 2007).

  In that case, the plaintiff was discharged by the College. She initially pursued, then abandoned the

  administrative appeal process. She filed suit in the circuit court, alleging breach of her employment

  contract. The appeals court held that her failure to exhaust her administrative remedy deprived the

  court of jurisdiction. Id. at 767-70.

          Plaintiff in this case had available to him the administrative remedy of filing a complaint

  with the Department of Veterans Affairs, followed by proceedings before PERC, then review in

  the Florida District Court of Appeal. He did not avail himself of these administrative remedies

  and, therefore, cannot proceed in this Court.



  26623/065/01644903.DOCXv1                        6
Case 1:20-cv-23191-WPD Document 7 Entered on FLSD Docket 08/28/2020 Page 7 of 18




          For these reasons, the Court should find that Plaintiff’s claim under Chapter 295 in Count

  III is subject to the preemptive jurisdiction of PERC or, alternatively, that Plaintiff failed to exhaust

  administrative remedies, and should dismiss Count III with prejudice for lack of subject matter

  jurisdiction.

  B.      The Language In Section 295.14 Is A Remnant Of An Obsolete Means Of Enforcement
          That Was Inadvertently Left Behind During Years Of Evolution Of Chapter 295; It Does
          Not Authorize A Private Cause Of Action.

          Section 295.14 states, in its entirety:

                  295.14 Penalties.—
                  (1) When the Public Employees Relations Commission, after a
                  hearing on notice conducted according to rules adopted by the
                  commission, determines that a violation of s. 295.07, s. 295.08,
                  s. 295.085, or s. 295.09(1)(a) or (b) has occurred and sustains the
                  veteran seeking redress, the commission shall order the offending
                  agency, employee, or officer of the state to comply with the
                  provisions of s. 295.07, s. 295.08, s. 295.085, or s. 295.09(1)(a) or
                  (b); and, in the event of a violation of s. 295.07, s. 295.08,
                  s. 295.085, or s. 295.09(1)(a) or (b), the commission may issue an
                  order to compensate the veteran for the loss of any wages and
                  reasonable attorney’s fees for actual hours worked, and costs of all
                  work, including litigation, incurred as a result of such violation,
                  which order shall be conclusive on the agency, employee, or officer
                  concerned. The attorney’s fees and costs may not exceed $10,000.
                  The action of the commission shall be in writing and shall be served
                  on the parties concerned by certified mail with return receipt
                  requested.
                  (2) When reparation is sought through civil action in a court of
                  competent jurisdiction, any agency, employee, or officer of the state
                  or a political subdivision thereof found in violation of any provision
                  of this act shall, in addition to any other edict issued by the court, be
                  required to pay the costs of suit and reasonable attorney’s fees
                  incurred in such action and shall be required to pay as damages such
                  amount as the court may award, any law to the contrary
                  notwithstanding.
                  (3) Any employee or officer found liable pursuant to a second or
                  subsequent violation of the provisions of this section shall forfeit his
                  or her position.




  26623/065/01644903.DOCXv1                          7
Case 1:20-cv-23191-WPD Document 7 Entered on FLSD Docket 08/28/2020 Page 8 of 18




  It is immediately obvious that the section deals with remedies and does not, of itself, authorize a

  private cause of action. Subsection 2 is a fee-shifting provision.

          Moreover, it appears that Subsection 2 is a remnant or vestige of an earlier and now deleted

  enforcement mechanism. There are four occurrences of the word “court” in the whole of Chapter

  295; three of them are in Subsection 2, quoted above, and one is in Section 295.186 and occurs as

  “court appointed guardian” in an unrelated context. The phrase “civil action” appears only in

  Subsection 2, above. There appears to be no other reference related in any way to a lawsuit in

  court. This was not always the case.

          Sections 295.11 and 295.14 have been amended numerous times over the decades. In 1977,

  Section 295.11 stated, “If the division [of Veterans Affairs] finds the equities to be with the

  complainant, it shall have the power to seek relief through the Career Service Commission or

  through the courts.” Ch. 77-422, § 3, Laws of Fla. Section 295.14 had no mention of attorney’s

  fees. This scheme remained in place until 1986, when Section 295.11 was rewritten extensively.

  It then included this new statement: “Nothing in this section, however, shall be construed as

  prohibiting a veteran aggrieved by a violation of this act from bringing a civil action in any court

  of competent jurisdiction ... or, in those cases pertaining to s. 295.09, from seeking relief through

  the Public Employees Relations Commission ... .” Ch. 86-163, § 79, Laws of Fla. Here is an

  express private cause of action. Section 295.14 was also rewritten at this time exactly as it currently

  reads. Ch. 86-163, § 80, Laws of Fla.

          (It should be noted that, though the Complaint claims to bring Count III under Section

  295.08, Section 295.09 addresses preference in promotions, with reference to Section 295.08.

  Thus, harking back to the argument in Point I.A., above, jurisdiction over promotional claims was




  26623/065/01644903.DOCXv1                         8
Case 1:20-cv-23191-WPD Document 7 Entered on FLSD Docket 08/28/2020 Page 9 of 18




  given to PERC at the same time as a private cause of action was created in 1986 – further

  strengthening the argument that PERC has exclusive jurisdiction.)

          The next year, Section 295.11 was again rewritten and divided into subsections 1-4.

  Subsection 4 stated: “(4) Jurisdiction to effectuate the purposes of ss. 295.07-295.09 shall vest

  with the Public Employees Relations Commission for appropriate administrative determination.”

  Ch. 87-356, § 8, Laws of Fla. Section 295.11 retained a role for the Division of Veterans Affairs,

  but instead of merely “us[ing] all of its powers on behalf of the complainant,” as in the immediately

  previous version, it now had the beginnings of the scheme whereby the Division would investigate

  and then enforcement was given to PERC. Compare Ch. 86-163, § 79, Laws of Fla. with Ch. 87-

  356, § 8, Laws of Fla.

          Most importantly, the language creating a private cause of action was eliminated.

          The pertinent statutory language for purposes of this analysis remained the same in

  substance thereafter. To sum up, it appears that enforcement was originally through a possible civil

  action or administrative action via a veterans division and by criminal prosecution; then, for a

  single year, by private cause of action by the complainant or agency action (which is when the

  language in the current 295.14(2) was added); then solely by administrative action under PERC

  (with the express private cause of action deleted). The bottom line is that there was once a private

  cause of action to enforce veterans preference, with the mechanism creating the cause in Section

  295.11 and an attorney’s fees provision in Section 295.14. The mechanism – and the cause of

  action – was deleted, but the attorney’s fees provision was forgotten and left behind, a vestige

  without effect.

          A very analogous case is found in De La Campa v. Grifols, 819 So. 2d 940 (Fla. 3d DCA

  2002). In that case, the plaintiff sued in Florida Circuit Court under Chapter 11A of the Miami-



  26623/065/01644903.DOCXv1                        9
Case 1:20-cv-23191-WPD Document 7 Entered on FLSD Docket 08/28/2020 Page 10 of 18




   Dade County Code. Id. at 941. She alleged employment discrimination based on sexual orientation.

   She had followed an administrative enforcement scheme under the Code and had been issued a

   notice of right to sue by the Miami-Dade County Equal Opportunity Board. Id. The court observed

   that, in its then-current form, Chapter 11A was divided into parts dealing with housing, public

   accommodations, employment, and other matters, each division containing its own enforcement

   scheme – except employment. Id. at 942. In reviewing the history of amendments to Chapter 11A,

   the court observed:

                   Notably, chapter 11A, section 11A–12 ... used to provide for a
                   private cause of action for all claims of discrimination arising under
                   chapter 11A, including employment discrimination. ... A subsequent
                   amendment to chapter 11A eliminated the express private cause of
                   action contained in section 11A–12. As amended, section 11A–12
                   became part of article II, which is dedicated exclusively to housing,
                   and addresses unlawful housing practices.

   Id. at 942-43 (internal citation omitted). The then-current version of the Code even included a

   statement in its introductory section that “[a]ll violations shall be prosecuted in the court of

   appropriate jurisdiction of Dade County, Florida.” Id. at 941. Further, the “notice of rights”

   language still existed, but as a part of the housing section only. Id. at 943. Given that the Code

   previously had an enforcement scheme of which that notice of rights provision had been a part and

   that the Code was rewritten to create a different enforcement scheme – and leaving the employment

   section without judicial enforcement – the court found that “the reference to section 11A–12 in the

   notice of right to sue that De La Campa received appears to be a vestige of the former version of

   chapter 11A ... .” Id. at 943.

           The court found that the Code once did, but no longer provided a judicial cause of action

   for employment discrimination.

                   We must give due significance to the amendment that eliminated a
                   private cause of action for employment discrimination. ... In revising

   26623/065/01644903.DOCXv1                        10
Case 1:20-cv-23191-WPD Document 7 Entered on FLSD Docket 08/28/2020 Page 11 of 18




                   chapter 11A of the Code as it relates to employment, it is evident
                   that the Miami–Dade County Commission, the legislative body in
                   this case, intended to exclude the mechanism that had been
                   previously afforded to a charging party for the purpose of filing civil
                   suits for employment discrimination. See Capella v. City of
                   Gainesville, 377 So.2d 658, 660 (Fla.1979) (“When the legislature
                   amends a statute by omitting words, we presume it intends the
                   statute to have a different meaning than that accorded it before the
                   amendment.”) ... .

   Id. at 943.

           So it is in the case before this Court. Before 1986, there was nothing in Chapter 295 that

   provided an express or implied cause of action. The remedies all came through the action of a state

   agency. In 1986, PERC was added to the enforcement scheme, but the Legislature also added an

   express private cause of action and the attorney’s fees provision of Section 295.14. In 1987, the

   Legislature eliminated the express private cause of action, kept the PERC enforcement scheme

   with expanded jurisdiction, and left behind the attorney’s fees provision. Thereafter, there were

   other changes and elaborations to the enforcement scheme, but the express private cause of action

   was never revived. The vestigial attorney’s fees provision remained untouched.

           As in De La Campa, the law here was amended to eliminate the mechanism by which a

   private cause of action once was authorized, and left behind a vestige that permitted fee-shifting.1

   As in De La Campa, “due significance” must be given to the deliberate and intentional action of

   the Legislature to eliminate the express private cause of action. There was a cause of action before;

   it was eliminated – intentionally – and that intent must be honored.




   1
           It is possible that Section 295.14(2) could retain effect as a fee-shifting authorization for
           appeals taken to the District Courts of Appeal. The City’s research did not find any such
           use reported, however.
   26623/065/01644903.DOCXv1                         11
Case 1:20-cv-23191-WPD Document 7 Entered on FLSD Docket 08/28/2020 Page 12 of 18




           The City’s research revealed no veterans preference case after 1986 that appears to have

   been initiated in a court. In fact, that research found scant reference at all to Section 295.14 and no

   case citing Section 295.14(2) – except a case affirmed per curiam with a bare citation.

           This history and the plain language of the Chapter show that there is no express cause of

   action. It also shows that there is no implied cause of action. The remedy is the comprehensive

   enforcement scheme discussed in I.A., above, which vests exclusive jurisdiction in PERC. Plaintiff

   in this case has no mechanism to get into court except through the enforcement scheme that

   includes PERC. He cannot bring suit in the first instance in court. This Court lacks subject matter

   jurisdiction. Count III should be dismissed with prejudice.

                                                 POINT II

                   EVEN IF A PRIVATE CAUSE OF ACTION EXISTS UNDER
                   CHAPTER 295, PLAINTIFF’S CLAIM IS BARRED BY
                   SOVEREIGN IMMUNITY.

   A.      Plaintiff Has Not Complied With The Notice Requirements Of Florida’s Limited Waiver
           Of Sovereign Immunity Statute.

           Florida Statutes Section 768.28 contains Florida’s limited waiver of sovereign immunity

   for actions in tort. No action may be maintained against the state (including municipalities) unless

   the plaintiff has presented it to the municipality in writing within three years of the claim accruing.

   Fla. Stat. § 768.28(6)(a). Employer liability arising from employment practices are regarded as

   “employment torts.” See, e.g., Price Waterhouse v. Hopkins, 490 U.S. 228, 264 (1989) (O’Connor,

   J., concurring) (characterizing Title VII as a statutory employment tort) superseded by statute on

   other grds. Plaintiff’s Count III is an attempt to state a claim for an employment tort and, as such,

   is subject to the limited waiver of sovereign immunity enjoyed by the City. Plaintiff has not alleged

   that he complied with the notice provision. Further, the most recent alleged failure to promote




   26623/065/01644903.DOCXv1                         12
Case 1:20-cv-23191-WPD Document 7 Entered on FLSD Docket 08/28/2020 Page 13 of 18




   occurred in 2016 – four years ago and beyond the three-year notice limit. Therefore, Count III is

   barred by sovereign immunity and should be dismissed.

   B.      Plaintiff Is Asserting An Implied Private Cause Of Action; Waiver Of Sovereign Immunity
           Cannot Be Implied.

           As explained in Point I, there is no express private cause of action in Chapter 295. Any

   such cause of action must be implied from the scant support of the existence of the vestigial

   attorney’s fees provision in Section 295.14. For this same reason, there is no express waiver of

   sovereign immunity for a private cause of action in Chapter 295; a waiver would have to be implied

   along with the existence of the cause of action. However, it is well-settled that, with few

   exceptions, sovereign immunity cannot be implied – it must be express.2

           The court in Dorsey v. U.S. Dep’t of Labor, 41 F.3d 1551, 1555 (D.C. Circ. 1994) stated

   this unequivocally in a case in which the Plaintiff urged that a statute created an implied private

   cause of action and, therefore, an implied waiver of federal sovereign immunity:

                   While private rights of action may be implied, waivers of sovereign
                   immunity may not. The Supreme Court has said exactly that, and on
                   more than one occasion: “A waiver of sovereign immunity ‘cannot
                   be implied....’ ” Irwin v. Department of Veterans Affairs, 498 U.S.
                   89, 95, 111 S.Ct. 453, 457, 112 L.Ed.2d 435 (1990), quoting United
                   States v. Mitchell, 445 U.S. 535, 538, 100 S.Ct. 1349, 1351, 63
                   L.Ed.2d 607 (1980), which quoted United States v. King, 395 U.S.
                   1, 4, 89 S.Ct. 1501, 1502, 23 L.Ed.2d 52 (1969).

   Similarly, in Contour Spa v. Seminole Tribe, 692 F.3d 1200, 1209 (11th Cir. 2012) (quoting Santa

   Clara Pueblo v. Martinez, 436 U.S. 49, 58-59 (1978) (citations omitted), the court held that,

   whether or not an implied cause of action existed, a waiver of sovereign immunity of an Indian




   2
           The Florida Supreme Court recognizes an implied waiver of sovereign immunity in
           contract cases. Pan-Am Tobacco Corp. v. Dep’t of Corrections, 471 So. 2d 4 (Fla. 1984).
           The instant case is not a contract case.
   26623/065/01644903.DOCXv1                       13
Case 1:20-cv-23191-WPD Document 7 Entered on FLSD Docket 08/28/2020 Page 14 of 18




   tribe could not be implied, stating, “It is settled that a [congressional] waiver of sovereign

   immunity ‘ “cannot be implied but must be unequivocally expressed.” ’ ”

           Florida courts have consistently turned back attempts to find implied waivers of sovereign

   immunity. In the leading case of County of Brevard v. Miorelli Engineering, 677 So. 2d 32, 34

   (Fla. 5th DCA 1996), quashed on other grds., 703 So. 2d 1049 (Fla. 1997), the engineering firm

   sought to bring a claim for fraud in the inducement of a written contract. Despite the waiver of

   immunity for contract claims, the court found that fraud in the inducement was a tort independent

   of breach of contract and that it did not fit within the limited waiver of immunity in Section 768.28.

           In the case of Chapter 295, the Legislature has provided an express scheme of enforcement

   through PERC, which waives sovereign immunity to that extent. However, because waivers of

   sovereign immunity are construed narrowly, this waiver cannot be extended to any implied private

   cause of action. Following Miorelli, where the contract claim waiver could not extend to a contract-

   related fraud in the inducement claim, neither should the waiver for enforcement by PERC be

   extended to an implied (and doubtful) private cause of action in Chapter 295.

           Therefore, any claim under a private cause of action in Chapter 295 is barred by sovereign

   immunity.

                                                POINT III

                   COUNT III SHOULD BE DISMISSED AS AN IMPERMISSIBLE
                   SHOTGUN PLEADING.

           Rule 12(b)(6) requires that a complaint be dismissed when it “fail[s] to state a claim.” Fed.

   R. Civ. P. 12(b)(6). A motion to dismiss for failure to state a claim tests the formal sufficiency of

   a statement of a claim for relief, and the court's inquiry is whether allegations state a sufficient

   claim under Rule 8, which requires a “short and plain statement of the claim showing that the

   pleader is entitled to relief.” Jenkins v. McKeithen, 395 U.S. 411, 421 (1968).

   26623/065/01644903.DOCXv1                        14
Case 1:20-cv-23191-WPD Document 7 Entered on FLSD Docket 08/28/2020 Page 15 of 18




           A complaint’s “[f]actual allegations must be enough to raise a right to relief about the

   speculative level.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). Rule 8 requires

   “more than labels and conclusions,” and identifies two specific thresholds that the pleader must

   cross in order to avoid dismissal: (1) a pleader must bridge the gap between legal conclusions and

   facts; and (2) a pleader must allege suggestive facts that exceed factual neutrality. Id. at 557 n.5

   (emphasis added). To successfully “nudge[] claims across the line from conceivable to plausible,”

   a complaint must contain facts “plausibly suggesting (not merely consistent with)” violations of

   the asserted causes of action. Id. at 570. When they do not, “‘this basic deficiency should . . . be

   exposed at the point of minimum expenditure of time and money by the parties and the Court.’”

   Id. at 558; see also Ashcroft v. Iqbal, 556 U.S. 662, 668 (2009) (Stating that Rule 8 mandates a

   plaintiff’s claims have “facial plausibility”).

           Plaintiff’s Complaint must meet the threshold requirement of pleading “a short plain

   statement of the claim showing that the pleader is entitled to relief,” Fed. R. Civ. P. 8(a)(2). Further,

   “[a] party must state its claims or defenses in numbered paragraphs, each limited as far as

   practicable to a single set of circumstances.” Fed. R. Civ. P. 10(b). Pleadings that violate these

   rules are called shotgun pleadings. Weiland v. Palm Beach Cty. Sheriff’s Office, 792 F.3d 1313,

   1320 (11th Cir. 2015). Because shotgun pleadings are in violation of the most basic requirements,

   they do not meet the heightened pleading requirements established in Iqbal and Twombly. See

   Paylor v. Hartford Fire Ins. Co., 748 F. 3d 1117, 1126 (11th Cir. 2014).

           Inclusion of multiple claims in one count make it is impossible to separate one claim from

   another. See Strategic Income Fund, LLC v. Spear, Leeds & Kellogg Corp., 305 F.2d 1293, 1294

   (11th Cir. 2002); Garfeh v. Carnival Corp., Case 17-20499-CIV, 2018 WL 501270 at *3 (S.D.

   Fla. Jan. 22, 2018) (dismissing complaint) (citing Bickerstaff Clay Prods. Co. v. Harris Cty., 89



   26623/065/01644903.DOCXv1                          15
Case 1:20-cv-23191-WPD Document 7 Entered on FLSD Docket 08/28/2020 Page 16 of 18




   F.3d 1481, 1485 n. 4 (11th Cir. 1996); Vibe Micro, Inc. v. Shabanets, No. 16-15276, 2018 WL

   268849 (11th Cir. Jan. 3, 2018)).

           The Complaint is a shotgun pleading because it conflates the USERRA claim of Count I

   with the state law claim of Count III, leading to confusion as to whether Count III is to be read as

   including a USERRA claim, whether Plaintiff intends the USERRA claim to somehow bolster the

   state law claim, or whether Plaintiff intends something entirely different or, in fact, intends

   anything at all. This is the fatal defect of this and all shotgun pleadings.

           This shotgun pleading fails to conform to the rules of pleading and, as a result, masks and

   confuses the issues. It should be dismissed.

                                              CONCLUSION

           As explained above, Count III of the Complaint fails on numerous grounds. First and

   foremost, the Court lacks subject matter jurisdiction or, put another way, Plaintiff failed to exhaust

   his administrative remedies. Second, sovereign immunity has not been waived expressly and

   cannot be waived impliedly, barring Plaintiff’s attempt to bring his claim as an implied statutory

   cause of action. Third, the claim he is attempting to bring, if it existed, would be barred by his

   failure to satisfy the conditions precedent to bring the claim under Florida’s limited waiver of

   sovereign immunity. Fourth, Count III is drafted as an impermissible shotgun pleading. Count III

   should be dismissed, with prejudice.




                      [ SIGNATURE BLOCK ON THE FOLLOWING PAGE]




   26623/065/01644903.DOCXv1                         16
Case 1:20-cv-23191-WPD Document 7 Entered on FLSD Docket 08/28/2020 Page 17 of 18




                                            BRYANT MILLER OLIVE P.A.
                                            One S.E. Third Avenue, Suite 2200
                                            Miami, Florida 33131
                                            (305) 374-7349 (Telephone)
                                            (305) 374-0895 (Fax)


                                            By: /s/David C. Miller
                                               David C. Miller (FL Bar No. 147427)
                                               dmiller@bmolaw.com
                                               Ranjiv Sondhi (FL Bar No. 105581)
                                               rsondhi@bmolaw.com
                                               Counsel for Defendant




   26623/065/01644903.DOCXv1           17
Case 1:20-cv-23191-WPD Document 7 Entered on FLSD Docket 08/28/2020 Page 18 of 18




                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was served

   electronically through the Clerk of the Court by using the CM/ECF system, on this 28th day of

   August, 2020, on all counsel or parties of record on the Service List below.


                                                        /s/David C. Miller
                                                        David C. Miller

                                           SERVICE LIST


   Anthony J. Perez, Esquire
   Florida Bar No. 535451
   Beverly Virues, Esquire
   Florida Bar No. 123713
   Garcia-Menocal & Perez, P.L.
   4937 SW 74th Court, No. 3
   Miami, Florida 33155
   (305) 553-3464 (Telephone)
   (305) 553-3031 (Fax)
   ajperezlaw@gmail.com
   bvirues@lawgmp.com
   aquezada@lawgmp.com




   26623/065/01644903.DOCXv1                       18
